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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JUDICIAL WATCH, INC.,               )
425 Third Street S.W., Suite 800    )
Washington, DC 20024,               )
                                    )
                   Plaintiff,       )                  Civil Action No.
                                    )
v.                                  )
                                    )
UNITED STATES CAPITOL POLICE,       )
119 D Street, N.E.                  )
Washington, DC 20510,               )
                                    )
                   Defendant.       )
____________________________________)

                                           COMPLAINT

        Plaintiff Judicial Watch, Inc. brings this action against U.S. Capitol Police to compel

compliance with the common law right of access to public records. As grounds therefor,

Plaintiff alleges as follows:

                                  JURISDICTION AND VENUE

        1.      The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

1361.

        2.      Venue is proper in this district pursuant to 28 U.S.C. § 1391.

                                             PARTIES

        3.       Plaintiff Judicial Watch, Inc. is a not-for-profit, educational organization

incorporated under the laws of the District of Columbia and headquartered at 425 Third Street

S.W., Suite 800, Washington, DC 20024. Plaintiff seeks to promote transparency,

accountability, and integrity in government and fidelity to the rule of law. As part of its mission,

Plaintiff regularly requests records from various governmental entities at the federal and state
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levels. Plaintiff analyzes the responses and disseminates its findings and the requested records to

the American public to inform them about “what their government is up to.”

        4.      Defendant U.S. Capitol Police is a law enforcement agency within the legislative

branch. Defendant has possession, custody, and control of the public records Plaintiff seeks.

                                    STATEMENT OF FACTS

        5.      On January 21, 2021, Plaintiff submitted a request to Defendant for copies of the

following public records:

                A.      Email communications between the U.S. Capitol Police
                        Executive Team and the Capitol Police Board concerning the
                        security of the Capitol on January 6, 2021. The timeframe of
                        this request is from January 1, 2021 through January 10, 2021.

                B.      Email communications of the Capitol Police Board with the
                        Federal Bureau of Investigation, the U.S. Department of
                        Justice, and the U.S. Department of Homeland Security
                        concerning the security of the Capitol on January 6, 2021. The
                        timeframe of this request is from January 1, 2021 through
                        January 10, 2021.

                C.      All video footage from within the Capitol between 12pm and
                        9pm on January 6, 2021.

        6.      By email dated February 11, 2021, Defendant declined to provide the requested

records to Plaintiff.

        7.      As of the date of this Complaint, Defendant has not produced the requested

records to Plaintiff.

                                         COUNT I
                                 (Common Law Right of Access)

        8.      Plaintiff realleges paragraphs 1 through 7 as if fully stated herein.

        9.      Defendant is in violation of the common law right of access to public records.

        10.     The requested communications and video footage are public records because they

were created or received by an agency of the legislative branch for the purpose of recording

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official actions. In addition, the requested communications and video footage are of legal

significance.

       11.      The public interest in the requested communications and video footage outweighs

Defendant’s interest in keeping them secret.

       12.      Defendant has a non-discretionary duty to make these public records available

upon request.

       13.      Plaintiff is being irreparably harmed by Defendant’s violation, and Plaintiff will

continue to be irreparably harmed unless Defendant is compelled to comply with the law.

       14.      Plaintiff has no adequate remedy at law.

       WHEREFORE, Plaintiff respectfully requests that the Court: (1) declare that Defendant’s

refusal to release the requested public records is a violation of the common law right of access to

public records; (2) issue a writ of mandamus compelling Defendant to carry out its non-

discretionary duty to make all of the requested records available; (3) award Plaintiff its costs and

reasonable attorneys’ fees in this action; and (4) grant Plaintiff such other relief as the Court

deems just and proper.

Dated: February 16, 2021                               Respectfully submitted,

                                                       /s/ Michael Bekesha
                                                       Michael Bekesha (D.C. Bar No. 995749)
                                                       JUDICIAL WATCH, INC.
                                                       425 Third Street S.W., Suite 800
                                                       Washington, DC 20024
                                                       (202) 646-5172

                                                       Counsel for Plaintiff




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